              Case 2:21-mc-00075-PBT Document 15 Filed 07/18/22 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                             :
    BALANCED BRIDGE FUNDING, LLC,                            :
                                                             :
                     Petitioner,                             :            CIVIL ACTION
                                                             :
                     v.                                      :            NO. 21-4073
                                                             :
    MITNICK LAW OFFICE, LLC,                                 :
                                                             :
                    Respondent.



                                                             :
    MITNICK LAW OFFICE, LLC,                                 :
                                                             :
                     Petitioner,                             :            MISCELLANEOUS CASE
                                                             :
                     v.                                      :            NO. 21-MC-75
                                                             :
    BALANCED BRIDGE FUNDING, LLC,                            :
                                                             :
                    Respondent.


                                        ORDER AND JUDGMENT

         AND NOW, this 18th day of July 2022, upon consideration of Balanced Bridge Funding

LLC’s Petition to Confirm Arbitration Award, and the Court having been advised that Mitnick

Law Office withdraws its Petition to Vacate Arbitration Award, 1 IT IS HEREBY ORDERED

AND DECREED as follows:

         1.       The Petition to Confirm is GRANTED, and the Petition to Vacate is DISMISSED

WITH PREJUDICE.




1
 The Parties did not proceed to a bench trial after Mitnick Law Office informed the Court that it withdraws its
Petition to Vacate the Arbitration Award.
            Case 2:21-mc-00075-PBT Document 15 Filed 07/18/22 Page 2 of 2




       2.       The Arbitrator’s September 1, 2021 Final Award is CONFIRMED, and

JUDGMENT is hereby entered in favor of Balanced Bridge Funding LLC and against Mitnick

Law Office, LLC in the total amount of $2,889,875.00, comprised of the following:

                a.     $ 2,742,313.00, representing the $2,307,119.00 stated in the Final Award,

plus contract interest accrued from August 1, 2021 through June 30, 2022 per the Final Award;

                b.     $102,605.01, representing Balanced Bridge Funding LLC’s reasonable

attorney’s fees and costs awarded by the Arbitrator;

                c.     $44,957.00, representing the administrative fees and expenses of the

arbitration advanced by Balanced Bridge Funding LLC and awarded by the Arbitrator, which shall

bear post-judgment interest under 28 U.S.C. §1961 from the date of this order.

       3.       The judgment shall bear interest at the statutory rate of five percent under 28 U.S.C.

§1961 from the date of this order.

       4.       Mitnick Law Office’s Motion to Quash (ECF No. 11) is DENIED AS MOOT.

       5.       The Clerk of Court shall mark both cases as CLOSED for statistical purposes.




                                                               BY THE COURT:

                                                                /s/ Petrese B. Tucker

                                                               Hon. Petrese B. Tucker, U.S.D.J.
